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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  MALCOLM MEDLEY,

                         Plaintiff,

                 v.
                                                       Civil Action No. 21-0534 (ZMF)
  CHARLOTTE A. BURROWS,
  Chair, U.S. Equal Employment Opportunity
  Commission,

                         Defendant.


                      DEFENDANT’S RENEWED MOTION TO DISMISS
                       AND MEMORANDUM IN SUPPORT THEREOF

       Pursuant to Federal Rule of Civil Procedure (“Rule”) 41(b) and the Court’s inherent

authority, Defendant Charlotte A. Burrows, in her official capacity as Chair of the U.S. Equal

Employment Opportunity Commission (“EEOC”), by and through undersigned counsel,

respectfully renews her motion to dismiss (ECF No. 29). Plaintiff’s compliance with the show

cause Order was due April 5, 2022. More than a month has passed since that date. In support of

this motion, Defendant states as follows:

                                       BACKGROUND

       Plaintiff Malcolm Medley works for the EEOC. Compl. ¶ 26. Plaintiff alleges that he was

removed from the Senior Executive Service and reassigned to another position within the EEOC.

Compl. ¶ 34. Plaintiff has brought claims for race discrimination, retaliation, and hostile work

environment based on race and prior EEO activity. Compl. ¶¶ 30–46. Plaintiff filed this lawsuit

on March 1, 2021.
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       On September 2, 2021, the Court granted Plaintiff’s counsel’s motion to withdraw and

ordered Plaintiff to have new counsel enter their appearance or declare his intent to proceed pro

se. Minute Order (Sept. 2, 2021). Plaintiff’s compliance was due on October 4, 2021. Id. After

Plaintiff failed to comply, Defendant filed a notice with this Court that “warn[ed] Plaintiff that

failure to comply with the Court’s Orders may result in dismissal of this action.” Def.’s Notice

(ECF No. 26) at 1 (citing Fed. R. Civ. P. 41(b) and Smith v. United States, Civ. A. No. 95-0551,

1996 WL 694186, at *1–2 (D.D.C. Nov. 26, 1996)); see also Smith, 1996 WL 694186, at *1–2

(dismissing action after defendant filed notice of noncompliance that warned plaintiff of risk of

dismissal for failure to comply with Order yet plaintiff continued to fail to comply). Plaintiff never

complied with the Court’s Order. Subsequently, on October 22, 2021, Plaintiff finally informed

Defendant of his intent to proceed pro se, and Defendant so informed the Court. See Def.’s Notice

(ECF No. 23) at 1.

       On December 2, 2021, the Court entered a Scheduling Order that provided that “the parties

must exchange the disclosures required by Fed. R. Civ. P. 26(a)(1) by February 28, 2022.”

Scheduling Order (ECF No. 26) at 1 (emphasis omitted). The parties had mutually agreed on this

deadline. Joint Meet and Confer Report (ECF No. 25) at 3. In accordance with the Court’s

Scheduling Order, Defendant provided Defendant’s initial disclosures on that date. See Email with

Plaintiff (ECF No. 29-1). 1 Plaintiff did not provide his initial disclosures, so undersigned counsel

informed him that his initial disclosures were past due and requested that he email them on March

1, 2022. Id. With Plaintiff not responding to that email, Defendant ultimately moved to dismiss

or for an order to show cause.



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        The parties “agree[d] to accept service of filings and discovery in electronic format in lieu
of service via U.S. mail.” Joint Meet and Confer Report (ECF No. 25) at 7.


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       On March 15, 2022, the Court entered a show cause Order that ordered Plaintiff “to show

cause in writing on or before April 5, 2022, why this case should not be dismissed for failure to

comply with court-ordered deadlines.” Order (ECF No. 30) at 2. The Court warned that “[i]f

Plaintiff does not comply with this Order, the Court may dismiss his claims.” Id. (citing Wingfield

v. Off. of Architect of the Capitol, Civ. A. No. 18-2272 (APM), 2022 WL 629082, at *1 (D.D.C.

Feb. 21, 2022) (dismissing claims for failure to prosecute after the plaintiff’s failure to comply

with show cause order regarding the plaintiff’s noncompliance with one court-ordered deadline)).

On April 12, 2022—a week after Plaintiff’s deadline had passed—Defendant notified the Court

that “Plaintiff has not filed a response to the show cause Order, nor has Plaintiff served Defendant

with his initial disclosures, which were due on February 28, 2022.” Def.’s Notice (ECF No. 31)

at 1. Defendant stated that, as a result, “dismissal is appropriate at this time.” Id.

       More than a month has now passed. Plaintiff still has not filed a response to the Court’s

show cause Order, nor has Plaintiff served his initial disclosures.

                                           ARGUMENT

       The Court has “inherent power” to dismiss a case upon motion or sua sponte for failure to

prosecute or otherwise comply with a Court Order. Peterson v. Archstone Cmtys. LLC, 637 F.3d

416, 418 (D.C. Cir. 2011) (citing Link v. Wabash R.R. Co., 370 U.S. 626, 629 (1962)); see also

LCvR 83.23 (adopting the standard of Fed. R. Civ. P. 41(b)). This power is necessary to “prevent

undue delays in the disposition of pending cases and to avoid congestion in the courts.” Link, 370

U.S. at 629–30. This authority to dismiss a case for failure to prosecute or to follow the Court’s

Orders is not discarded because a plaintiff is proceeding pro se. Allen v. United States, 277 F.R.D.

221, 223 (D.D.C. 2011) (citing Clariett v. Rice, Civ. A. No. 04-2250 (RJL), 2005 WL 3211694,

at *4 (D.D.C. Oct. 18, 2005)).




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        Dismissal is warranted for failure to prosecute or otherwise comply with a court order when

the litigant has “not manifested reasonable diligence in pursuing the case.” Bomate v. Ford Motor

Co., 761 F.2d 713, 714 (D.C. Cir. 1985). Relevant considerations in making this determination

include “the effect of a plaintiff’s dilatory . . . conduct on the court’s docket, whether the plaintiff’s

behavior has prejudiced the defendant, and whether deterrence is necessary to protect the integrity

of the judicial system.” Bristol Petroleum Corp. v. Harris, 901 F.2d 165, 167 (D.C. Cir 1990)

(citing Shea v. Donohoe Constr. Co., 795 F.2d 1071 (D.C. Cir 1986)). Although dismissal may

be too severe a sanction for an isolated incident of misconduct, a court’s dismissal is proper where

the interests of justice would not be served by lesser sanctions. Allen, 277 F.R.D. at 223. Dismissal

under Rule 41(b) is appropriate “if the plaintiff has been previously warned that he must act with

more diligence, or if he has failed to obey the rules or court orders . . . or if there are other factors

aggravating the inaction.” Smith-Bey v. Cripe, 852 F.2d 592, 594 (D.C. Cir 1988) (quoting 9 C.

Wright & A. Miller, Federal Practice and Procedure § 2370, at 205–07 (1971)); see also Cartagena

v. Centerpoint Nine, Inc., 303 F.R.D. 109, 114 (D.D.C. 2014) (ordering plaintiff to show cause

why his claims should not be dismissed after plaintiff missed one court-ordered deadline and did

not respond to discovery requests, and noting that if plaintiff did not comply with the order, his

claims would be dismissed).

        Here, consistent with the Court’s broad inherent power, the Court should dismiss this case

for failure to comply with the Court’s Orders. Plaintiff did not provide his initial disclosures by

February 28, nor did Plaintiff ask for an extension of this Court-ordered deadline. Plaintiff was

previously warned that “failure to comply with the Court’s Orders may result in dismissal of this

action.” Def.’s Notice (ECF No. 26) at 1; see also Clemente v. FBI, 867 F.3d 111, 123 (D.C. Cir.

2017) (finding no abuse of discretion in dismissal and noting that “when evaluating a dismissal




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pursuant to Rule 41(b), dismissal can sometimes be justified ‘when there is some indication that

the client or attorney consciously fails to comply with a court order cognizant of the drastic

ramifications’”) (quoting Gardner v. United States, 211 F.3d 1305, 1309 (D.C. Cir. 2000)).

Plaintiff allowed his deadline to pass with nary a word and, despite being requested to provide his

past-due initial disclosures, has—to this day—still not identified a date when he will provide them.

Cf. Notice of Removal from the Senior Executive Service (ECF No. 9-1) at 2 (“As noted in your

performance rating, you [Plaintiff] are known for not following through on your commitments and

not completing tasks and assignments on time.”).

       Plaintiff was then provided with one last opportunity to avoid dismissal by filing a response

to the Court’s show cause Order (ECF No. 30). Plaintiff failed to file a response by April 5, 2022,

which was his deadline, and has still not filed a response more than a month later. At this point,

dismissal is appropriate without further delay. See Wingfield, 2022 WL 629082, at *1 (dismissing

case after pro se plaintiff failed to respond to Show Cause Order, which had allotted plaintiff seven

days to explain his failure to abide by a Court-ordered discovery deadline). Even if Plaintiff were

to file a response at this point, dismissal would still be appropriate. See id. Plaintiff has had three

strikes: (1) he failed to comply with the Court’s September 2, 2021 Minute Order; (2) he failed to

comply with the Court’s December 2, 2021 Scheduling Order (ECF No. 26); and (3) he failed to

comply with the Court’s March 15, 2022 show cause Order (ECF No. 30). “To borrow a baseball

aphorism, three strikes and out seems to us not unfair.” Gooley v. Mobil Oil Corp., 851 F.2d 513,

515 n.2 (1st Cir. 1988).




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                                        CONCLUSION

       For the foregoing reasons, Defendant requests that the Court dismiss this action for failure

to comply with this Court’s Orders.

Dated: May 9, 2022                           Respectfully Submitted,

                                             MATTHEW M. GRAVES, D.C. Bar No. 481052
                                             United States Attorney

                                             BRIAN P. HUDAK
                                             Chief, Civil Division

                                             By:    /s/ Douglas C. Dreier
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                                             Counsel for Defendant

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 9th day of May, 2022, I served a copy of the foregoing

Motion by causing a copy of the document to be sent to Plaintiff at malcolmsmedley@aol.com.

                                              /s/ Douglas C. Dreier
                                              Douglas C. Dreier
                                              Assistant United States Attorney




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